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1                             UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     DWAYNE TILLERY,                                     Case No. 3:20-cv-00004-RFB-WGC
4                                           Plaintiff,                   ORDER
5           v.
6     SCOTT ADAMSON, et al.,
7                                      Defendants.
8
9    I.     DISCUSSION

10          On January 2, 2020, Plaintiff Dwayne Tillery (#32659) initiated this prisoner civil

11   rights action pursuant to 42 U.S.C. § 1983 when he was in the custody of the Nevada

12   Department of Corrections (“NDOC”), (ECF No. 1-1). On October 20, 2020, the Court

13   confirmed from the NDOC inmate database that Plaintiff died on October 19, 2020.

14          Pursuant to Federal Rule of Civil Procedure 25(a)(1), “[i]f a party dies and the claim

15   is not extinguished, the court may order substitution of the proper party. A motion for

16   substitution may be made by any party or by the decedent’s successor or representative.

17   If the motion is not made within 90 days after service of a statement noting the death, the

18   action by or against the decedent must be dismissed.” Fed. R. Civ. P. 25(a)(1). As such,

19   if there is no motion for substitution filed within 90 days from the date of this order, the

20   Court will dismiss the case.

21   II.    CONCLUSION

22          For the foregoing reasons, IT IS ORDERED that the Court will dismiss this case in

23   90 days from the date of this order if there is no motion for substitution filed pursuant to

24   Federal Rule of Civil Procedure 25(a)(1).

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1          IT IS FURTHER ORDERED that the application to proceed in forma pauperis (ECF
2    No. 1) is denied as moot.
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4          DATED: November 2, 2020.
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7                                                RICHARD F. BOULWARE, II
                                                 UNITED STATES DISTRICT JUDGE
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